     CASE 0:13-cv-03451-SRN-HB Document 1828 Filed 10/12/16 Page 1 of 1



                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


In Re: RFC and ResCap Liquidating Trust               Court File No. 13-cv-3451 (SRN/HB)
Litigation


This document relates to:
                                                                    ORDER
ResCap Liquidating Trust v. First California
Mortgage Company, No. 13-cv-03453


       Pursuant to the parties’ Stipulation of Dismissal with Prejudice [Doc. No. 1824],

IT IS HEREBY ORDERED that pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii), Case No. 13-cv-03453 is hereby dismissed with prejudice and without

attorneys’ fees, costs and expenses to any of the parties to this action.


DATED: October 12, 2016
                                           s/Susan Richard Nelson
                                           SUSAN RICHARD NELSON
                                           United States District Judge
